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 5                          UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF CALIFORNIA
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 8
     UNITED STATES OF AMERICA
 9                                                    ) Case No.: CR S-08-090- EJG
              Plaintiff,                              ) STIPULATION AND ORDER
10                                                    )
            vs.                                       ) CONTINUING SENTENCING
11                                                    ) HEARING AND ADOPTING NEW
     LUCIANO PORCAYO, et. al.,                        )
12                                                    ) SCHEDULE FOR DISCLOSURE
                    Defendants.                       ) OF SENTENCING REPORT AND
13                                                    )
                                                        OBJECTIONS
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15
                                            Stipulation
16
            The government and the defendant, Luciano Porcayo, through undersigned counsel,
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     stipulate and request that the sentencing hearing scheduled for June 25, 2010, at 10:00 a.m. may
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     be continued to Thursday August 12, 2010, at 10:00 a.m. and that the Court order the following
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     schedule for disclosure of the pre-sentence report and the objections thereto:
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            Disclosure of draft pre-sentence report                July 2, 2010
21
            Written objections to draft PSR                        July 16, 2010
22
            Filing and disclosure of PSR                           July 23, 2010
23
            Motion for corrections of PSR                          July 30, 2010
24
            Reply or statement of non-opposition                   August 6, 2010.
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            The request for the continuance of the hearing and the new schedule regarding the
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     sentencing report is made by the parties. Although the pre-sentence interview has already taken
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     place, the probation officer requests additional time to prepare the report for this defendant.
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     Further, the government requests time to consider and prepare a motion for a 5K1.1 for this



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 1   defendant for assistance regarding a co-defendant who is currently scheduled for sentencing on
 2   June 25, 2010. Mr. Porcayo is out of custody on bond.
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     DATED: May 12, 2010                                  Respectfully submitted,
 4                                                        /s/ Lindsay Anne Weston
                                                          _______________________________
 5
                                                          LINDSAY ANNE WESTON
 6                                                        Counsel to Luciano Porcayo
 7

 8                                                        BENJAMIN WAGNER
                                                          United States Attorney
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10
                                                          /s/ Lindsay Weston for Samantha Spangler
                                                          [per e-mail authorization]
11                                                        __________________________________
                                                          SAMANTHA S. SPANGLER
12
                                                          Assistant U.S. Attorney
13

14                                        ORDER
15
            GOOD CAUSE APPEARING, IT IS SO ORDERED.
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     DATED: May 14, 2010
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20                                                        /s/ Edward J. Garcia
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                                                          EDWARD J. GARCIA, Judge
                                                          United States District Court
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